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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                     ENTERED
                                                                                  January 13, 2023
                                                                                 Nathan Ochsner, Clerk
                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

SECURITIES & EXCHANGE COMM. §
                            §
v.                          §                             CIVIL ACTION 4:22-CV-3359
                            §
MAURICIO CHAVEZ et al.      §



                                ORDER TO PAY-FEES

       The law firm Gerger, Hennessy & Martin has moved to transfer $17,342.5 0 from

its trust account to pay for legal work the firm provided during September 2022. The

Receiver has reviewed the motion and does not object to the September fees. For the

reasons stated in the motion, the motion is granted, and the law firm may transfer

$17,342.50 from its trust account to pay for services provided.


     SIGNED at Houston, Texas, this       J:3
                                                1"--day of January 2023.


                                                    ANDREW S. HANEN
                                                UNITED STATES DISTRICT mDGE
